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                           EXHIBIT A
                   Affidavit of Elvira Amantaeva
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        4.      In accordance with the October 10, 2018, Consent Order of Forfeiture, 21 U.S.C.

§ 853(n)(1), and Federal Rule of Criminal Procedure 32.2(b)(6), notice of the forfeiture was

posted on an official government internet site (www.forfeiture.gov) for at least 30 consecutive

days, beginning on October 13, 2018, and ending on November 11, 2018, as set forth in

Attachment 1.

        5.      In accordance with the October 10, 2018, Consent Order of Forfeiture, 21 U.S.C.

§ 853(n)(1), and Federal Rule of Criminal Procedure 32.2(b)(6), the United States provided

direct written notice of this action (the “Notice”) by FedEx delivery to the known addresses of

the persons and entities (or their authorized representatives) reasonably appearing to be a

potential claimant to contest forfeiture in the ancillary proceedings. The Notice included a

complete list of all the properties being forfeited and detailed instructions advising potential

claimants of the procedures required under 21 U.S.C. § 853(n) to file petitions. The Notice

advised that petitions must be filed within thirty (30) days of the receipt of the notice or thirty

(30) days of the last publication of the notice, whichever is earlier. Attachment 2 is a true and

correct copy of a representative example of the Notice sent as direct written notice of the order of

forfeiture.

        6.      A copy of the October 10, 2018, Consent Order of Forfeiture in this case was also

sent with each Notice.

        7.      Attachment 3 is a chart compiled by MLARS detailing when the Notice

Documents were sent and when they were delivered. A copy of the Notice was also sent to

certain individuals and entities (or their authorized representatives) by electronic mail, as also

referenced in Attachment 3. Attachment 3 does not list the specific addresses of individuals to




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Attachment 2 - Amantaeva Affidavit

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     : Criminal No. 17-cr-201-1          (ABJ)
                                             :
               v.                            :
                                             :
PAUL J. MANAFORT, JR.,                       :
                                             :
         Defendant.                          :

                                     NOTICE OF FORFEITURE

TO:


DATE:

       Notice is hereby given that on October 10, 2018, in the above-captioned case, the United

States District Court for the District of Columbia entered a Preliminary Order of Forfeiture as to

Defendant Paul J. Manafort, Jr., forfeiting to the United States of America the following assets:

   a) The real property and premises commonly known as 377 Union Street, Brooklyn, New
      York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
      attachments thereon, and any property traceable thereto, described more fully in
      Attachment A;

   b) The real property and premises commonly known as 29 Howard Street, #4D, New York,
      New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
      attachments thereon, and any property traceable thereto, described more fully in
      Attachment B;

   c) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New York
      11976, including all appurtenances, improvements, and attachments thereon, and any
      property traceable thereto, described more fully in Attachment C;

   d) All funds held in account number 0002030969 at The Federal Savings Bank, and any
      property traceable thereto;

   e) All funds seized from account number 00001373931388 at Capital One N.A., and any
      property traceable thereto;


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    f) All funds seized from account number 0002029952 at The Federal Savings Bank, and any
       property traceable thereto;

    g) Northwestern Mutual Universal Life Insurance Policy 18268327 and any property
       traceable thereto;

    h) The real property and premises commonly known as 123 Baxter Street, #5D, New York,
       New York 10016, described more fully in Attachment D; and

    i) The real property and premises commonly known as 721 Fifth Avenue, #43G, New York,
       NY 10022, described more fully in Attachment E.

        YOU ARE HEREBY NOTIFIED that the United States intends to dispose of each of the

forfeited assets as provided by law.

        Any person claiming a legal right, title, or interest in any of the property described above

must petition the United States District Court for the District of Columbia for a hearing to

adjudicate the validity of the alleged legal interest in this property. The petition must be filed

within thirty (30) days of the receipt of this notice or thirty (30) days of the last publication of

this notice, whichever is earlier. If a hearing is requested, it shall be held before the Court alone,

without a jury.

        The petition must be signed by the petitioner under penalty of perjury, and shall set forth

the particular property or properties in which the petitioner claims a legal right, title, or interest;

the nature and extent of the petitioner’s right, title, or interest in each of the forfeited properties;

the time and circumstances of the petitioner’s acquisition of the right, title, or interest in each

property; any additional facts supporting the petitioner’s claim; and the relief sought.

        Your petition must be filed with the United States District Court for the District of

Columbia in Criminal Case No. 17-201 (ABJ) at the following address:




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                       Clerk
                       United States District Court for the District of Columbia
                       333 Constitution Avenue, N.W.
                       Washington, D.C. 20001

       A copy of the petition should be served on Andrew Weissmann, Special Counsel’s

Office, 950 Pennsylvania Avenue N.W., Washington D.C. 20530, and Daniel Claman, Money

Laundering and Asset Recovery Section, 1400 New York Avenue, N.W., Suite 10100,

Washington D.C. 20530.

       Pursuant to 21 U.S.C. § 853(n)(2), NEITHER A DEFENDANT IN THE ABOVE-

STYLED CASE NOR HIS AGENT IS ENTITLED TO FILE A PETITION.

       ANY HEARING on your petition shall, to the extent practicable and consistent with the

interests of justice, be held within thirty (30) days of the filing of your petition. The Court may

consolidate your hearing on the petition with any other hearings requested on any other petitions

filed by any other person other than the defendant named above.

       YOU HAVE THE RIGHT, pursuant to 21 U.S.C. § 853(n), to testify at the hearing and to

present evidence and witnesses on your own behalf and cross-examine witnesses who appear at

the hearing. The United States may present evidence and witnesses in rebuttal and in defense of

its claim to the property and cross-examine witnesses who appear at the hearing. In addition to

testimony and evidence presented at the hearing, the Court shall consider the relevant portions of

the record of the criminal cases which resulted in the Preliminary Order of Forfeiture.

       If, after the hearing, the Court determines that the petitioner has established by a

preponderance of the evidence that: (a) the petitioner has a legal right, title or interest in the

property, and such right, title, or interest renders the Preliminary Order of Forfeiture invalid in

whole or in part because the right, title, or interest was vested in the petitioner rather than the

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defendant or was superior to any right, title, or interest of the defendant at the time of the

commission of the acts which gave rise to the forfeiture of the property; or (b) the petitioner is a

bona fide purchaser for value of the right, title, or interest in the property and was at the time of

purchase reasonably without cause to believe that the property was subject to forfeiture, the

Court shall amend the Preliminary Order of Forfeiture in accordance with its determination.

       IF YOU FAIL TO FILE A PETITION TO ASSERT YOUR RIGHT, TITLE, OR

INTEREST IN THE ABOVE-DESCRIBED PROPERTY WITHIN THIRTY (30) DAYS OF

THIS NOTICE, YOUR RIGHT, TITLE, AND INTEREST IN THIS PROPERTY SHALL BE

LOST AND THE PROPERTY FORFEITED TO THE UNITED STATES OF AMERICA. THE

UNITED STATES THEN SHALL HAVE CLEAR TITLE TO THE PROPERTY HEREIN

DESCRIBED AND MAY WARRANT GOOD TITLE TO ANY SUBSEQUENT PURCHASER

OR TRANSFEREE.

       DATED:


                                                       ROBERT S. MUELLER, III
                                                       Special Counsel


                                                       __/s/ Andrew Weissmann_________
                                                       ANDREW WEISSMANN
                                                       Assistant Special Counsel




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                           Attachment 3 to Amantaeva Affidavit
                                 Record of Direct Notice
TRACKING #     SENT       NOTICE TO                C/O                    DELIVERED   EMAIL
xxxxxxxx6416   11/2/18    29 Howard Street         c/o Gayle Pollack,     11/6/18     11/2/18
                          Condominium              Morrison Cohen
                                                   LLP
                                                   909 Third Ave,
                                                   New York, NY
                                                   10022
xxxxxxxx0015   02/08/19 All Concrete Corp.                                02/11/19    02/08/19
xxxxxxxx9131   10/31/18 Andrea Manafort                                   11/2/18     10/31/18
xxxxxxxx4249   11/1/18 Baxter Street               c/o Daniel             11/6/18     11/2/18
                        Condominium/               Suleiman
                        Solstice Residential       Solstice Residential
                        Group LLC                  Group LLC
                                                   257 Park Avenue
                                                   South, Suite 303
                                                   New York, NY
                                                   10010
xxxxxxxx5940   11/2/18 Christopher Doyle                                  11/7/18     02/11/18
xxxxxxxx4620   02/14/19 Christopher Shand                                 02/15/19
xxxxxxxx2370   10/11/18 Citizens Bank              c/o Helen Cantwell,    10/12/18    10/11/18
                                                   Debevoise and
                                                   Plimpton LLP
                                                   919 Third Ave
                                                   New York, NY
                                                   10022
xxxxxxxx2381   10/11/18 Clay Batchelor                                    10/12/18    10/11/18
xxxxxxxx4845   10/31/18 Collin Bond                                       11/5/18     10/31/18
xxxxxxxx8849   02/19/19 Dennis Manafort                                   02/20/19
xxxxxxxx3281   10/31/18 E.B., c/o Irene and                               11/6/18     10/31/18
                        Jay Bond
xxxxxxxx3281   10/31/18 Irene Bond                                        11/6/18     10/31/18
xxxxxxxx3281   10/31/18 Jay Bond                                          11/6/18     10/31/18
xxxxxxxx2349   11/2/18 First Republic Bank Attn: Edward                   11/6/18     11/2/18
                                            Dobranski
                                            111 Pine Street,
                                            San Francisco, CA
                                            94111




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xxxxxxxx1361   11/2/18   Genesis Capital        c/o E. Martin         11/5/18    11/2/18
                         Master Fund II,        Estrada, Munger,
                         LLC                    Tolles & Olson
                                                LLP
                                                350 South Grand
                                                Ave, 50th Floor
                                                Los Angeles, CA
                                                90071
xxxxxxxx2590   10/31/18 Jesand, LLC             c/o Kathleen          11/5/18
                                                Manafort
xxxxxxxx5335   10/31/18 Jesand, LLC             c/o National          11/2/18
                                                Registered Agents,
                                                Inc
                                                160 Greentree Dr.,
                                                Ste. 101
                                                Dover, DE 19904
xxxxxxxx1240   10/31/18 Jesand, LLC             c/o Bruce Baldinger   11/2/18    10/31/18
                                                The Law Offices of
                                                Bruce Baldinger
                                                43 West 43rd St.
                                                Ste 141
                                                New yOrk, NY
                                                10036
xxxxxxxx0869   10/31/18 Jesand, LLC             c/o Bruce Baldinger   11/5/18    10/31/18
                                                The Law Offices of
                                                Bruce Baldinger
                                                365 South Street,
                                                Morristown, NJ
                                                0796
xxxxxxxx0380   11/2/18   Jessica Manafort       c/o Andrew            11/6/18    11/2/18
                                                Mancilla
                                                Mancilla and
                                                Fantone, LLP
                                                260 Madison
                                                Avenue, 22nd
                                                Floor, New York,
                                                New York 10016
xxxxxxxx6470   11/20/18 Joseph Swolsky,         c/o Lori J.           11/21/18   11/20/18
                        Colleene Knorek         Braverman
                                                LORI J.
                                                BRAVERMAN,
                                                ESQ., ATTORNEY
                                                AT LAW
                                                280 Riverside
                                                Drive,
                                                New York, NY
xxxxxxxx2590   10/31/18 Kathleen Bond                                 11/5/18
                        Manafort
                                            2
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xxxxxxxx7205   11/2/18   MC Brooklyn            c/o Cogency Global    11/6/18
                         Holdings LLC           850 New Burton
                                                Road, Suite 201
                                                Dover, DE 19904
xxxxxxxx2331   11/2/18   MC Brooklyn            c/o Corporation       11/7/18
                         Holdings LLC           Service Company
                                                80 State Street
                                                Albany, NY 12207
xxxxxxxx4792   11/2/18   MC Brooklyn            c/o Kathleen Bond     11/8/18
                         Holdings LLC           Manafort
xxxxxxxx6076   11/2/18   MC Brooklyn            c/o Bruce Baldinger   11/6/18   11/2/18
                         Holdings LLC           The Law Offices of
                                                Bruce Baldinger
                                                43 West 43rd St.
                                                Ste 141
                                                New York, NY
                                                10036
xxxxxxxx0318   11/2/18   MC Brooklyn            c/o Bruce Baldinger   11/7/18   11/2/18
                         Holdings LLC           The Law Offices of
                                                Bruce Baldinger
                                                365 South Street,
                                                Morristown, NJ
                                                0796
xxxxxxxx0380   11/2/18   MC Brooklyn            c/o Andrew            11/6/18   11/2/18
                         Holdings LLC           Mancilla
                                                Mancilla and
                                                Fantone, LLP
                                                260 Madison
                                                Avenue, 22nd
                                                Floor, New York,
                                                New York 10016
xxxxxxxx0380   11/2/18   MC Soho Holdings       c/o Andrew            11/6/18   11/2/18
                                                Mancilla
                                                Mancilla and
                                                Fantone, LLP
                                                260 Madison
                                                Avenue, 22nd
                                                Floor, New York,
                                                New York 10016
xxxxxxxx4792   11/2/18   MC Soho Holdings       c/o Kathleen Bond     11/8/18
                         LLC                    Manafort
xxxxxxxx6076   11/2/18   MC Soho Holdings       c/o Bruce Baldinger   11/6/18   11/2/18
                         LLC                    The Law Offices of
                                                Bruce Baldinger
                                                43 West 43rd St.
                                                Ste 141
                                                New York, NY
                                                10036
                                            3
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xxxxxxxx0318   11/2/18   MC Soho Holdings       c/o Bruce Baldinger   11/7/18    11/2/18
                         LLC                    The Law Offices of
                                                Bruce Baldinger
                                                365 South Street,
                                                Morristown, NJ
                                                07960
xxxxxxxx6651   11/2/18   National Bancorp       c/o Corey B.          11/7/18    11/2/18
                         Holdings, Inc.         Rubenstein, Jeremy
                                                Margolis
                                                Loeb & Loeb LLP
                                                321 North Clark
                                                St., Ste 2300
xxxxxxxx3236   11/2/18   National Bancorp       c/o Seetha            11/5/18    11/2/18
                         Holdings, Inc.         Ramachandran,
                                                Schulte Roth &
                                                Zabel, LLP
                                                919 Third Avenue
                                                New York, NY
                                                10022
xxxxxxxx2360   11/02/18 The Federal             c/o Corey B.          10/11/18   11/02/18
                        Savings Bank            Rubenstein, Jeremy
                                                Margolis
                                                Loeb & Loeb LLP
                                                321 North Clark
                                                St., Ste 2300
xxxxxxxx9237   11/1/18   Northwestern           Attn: Rodd            11/7/18    11/01/18
                         Mutual Life            Schneider
                         Insurance              720 E. Wisconsin
                                                Avenue
                                                Milwaukee, WI
                                                53202
xxxxxxxx5306   02/14/19 Patrick Bond                                  02/19/19   10/31/18
xxxxxxxx9153   10/31/18 Scott Adler                                   11/2/18    10/31/18
xxxxxxxx8636   10/31/18 Stacy and Randy                               11/5/18    10/31/18
                        Bond
xxxxxxxx8469   10/31/18 Starr Manafort                                11/6/18    10/31/18
xxxxxxxx2590   10/31/18 Summerbreeze,           c/o Kathleen          11/5/18
                        LLC                     Manafort
xxxxxxxx1240   10/31/18 Summerbreeze,           c/o Bruce Baldinger 11/2/18      10/31/18
                        LLC                     The Law Offices of
                                                Bruce Baldinger
                                                43 West 43rd St.
                                                Ste 141
                                                New York, NY
                                                10036



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xxxxxxxx0869   10/31/18 Summerbreeze,           c/o Bruce Baldinger 11/5/18    10/31/18
                        LLC                     The Law Offices of
                                                Bruce Baldinger
                                                365 South Street,
                                                Morristown, NJ
                                                0796
xxxxxxxx2360   10/11/18 The Federal             c/o Corey           10/12/18   10/11/18
                        Savings Bank            Rubenstein, Loeb &
                                                Loeb, LLP
                                                321 North Clark
                                                St., Ste 2300
                                                Chicago, IL 60654
xxxxxxxx8190   10/31/18 Thomas Bond                                 11/6/18    10/31/18
xxxxxxxx3879   11/2/18 Trump Tower              c/o The Trump       11/6/18    11/2/18
                        Condominium             Organization, Attn:
                                                Sonja Talesnik
                                                725 Fifth Avenue
                                                New York, NY
                                                10022
xxxxxxxx1200   11/2/18   Trump Tower            c/o Robert T.       11/6/18    11/2/18
                         Condominium            Holland, Esq.,
                                                Trump Tower
                                                Condominium
                                                Belkin Burden
                                                Wenig & Goldman,
                                                LLP
                                                270 Madison Ave,
                                                New York, NY
                                                10016
xxxxxxxx2392   10/11/18 Trustee of the          c/o William         10/12/18   10/11/18
                        Manafort 2008           Clayton Batchelor
                        Irrevocable Trust       Wright & Batchelor
                                                LLP
                                                1601 18th Street,
                                                NW
                                                Washington, DC
                                                20009
xxxxxxxx2359   10/11/18 UBS Bank USA            c/o Stephanie       10/12/18   10/11/18
                                                Brooker, Gibson,
                                                Dunn and Crutcher
                                                LLP
                                                1050 Connecticut
                                                Ave NW
                                                Washington, DC
                                                20036




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xxxxxxxx8100   11/2/18   Woodlawn, LLC       c/o Keith Berglund   11/6/18   11/2/18
                                             149 S Barrington
                                             Ave
                                             Los Angeles, CA
                                             90049
xxxxxxxx6294   11/2/18   Woodlawn, LLC       c/o Joseph Rappa     11/6/18   11/02/18

xxxxxxxx1929   11/2/18   Woodlawn, LLC       c/o Joel R.          11/5/18   11/2/18
                                             Isaacson, Law
                                             Offices of J. R.
                                             Isaacson
                                             10550 Willshire
                                             Blvd, Ste 902
                                             Los Angeles, CA
                                             90024




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